
ERVIN, Judge.
Appellant’s convictions and sentences for first-degree robbery and burglary are reversed in accordance with Spellman v. State, 529 So.2d 305 (Fla. 1st DCA), review denied, 536 So.2d 245 (Fla.1988); Johnson v. State, 560 So.2d 1379 (Fla. 5th DCA 1990); and Hamilton v. State, 494 So.2d 505 (Fla. 2d DCA 1986), and the cause is remanded with directions that appellant be adjudged guilty of second-degree robbery and burglary and resentenced accordingly.
REVERSED and REMANDED for further proceedings.
WOLF and KAHN, JJ., concur.
